Case 2:05-cV-02182-BBD-tmp Document 7 Filed 06/01/05 Page 1 of 2 Page|D 10

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WESTERN DISTRICT oF TENNESSEE 05 JUH
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ROBERT S' BURCH WtD. OF 'l"f‘-L MEMPHJS

Plaintiff
Counter-Defendant

v. No. 2105-cv-021 SZ-BBD-P

GILLIAM COMMUNICATIONS, INC.,
WLOK RADIO, INC., and,
H. A. GILLIAM, JR.,,

Defendants
Counter-Plaintiffs..

 

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ORDER GRANTING
MOTION OF PLAINT]FF / COUNTER-DEFENDANT ROBERT S. BURCH
FOR AN EXTENSION OF TIME TO FILE RESPONSIVE PLEADTNGS

 

This Cause came on to be heard to be heard upon the Motion of Plaintiff / Counter-Defendant
Robert S. Burch for an extension of time for filing responsive pleadings through and including June lO,
2005. Opposin g counsel consents to the extension of the deadline through and including June 10, 2005.

IT IS ORDERED that the deadline for Plaintiff / Counter-Defendant Robert S. Burch to file
responsive pleadings to the Complaint is extended through and including June 10, 2005.

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DATED;.-Mety' 1 \, 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CV-02182 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

